Case 4:20-cv-10091-JLK Document 1 Entered on FLSD Docket 08/04/2020 Page 1 of 25




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Case 4:20-cv-10091-JLK Document 1 Entered on FLSD Docket 08/04/2020 Page 2 of 25

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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLOHH'*"---,+e~---

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    (Write the full name of the plaintiff)

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   B. Defendant:M', CA,'{Y\i\     l·\el~t.J .J,1:rt-.,tvpefendant: M o\J\'{ oe... 62<.J A"ty                                                    S~t>5T\ f    'J
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          Place of Employment: M ,' a.,..rl\} fJ-- Place of Employment: \-:~l 91{'\·~-'""-
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          (Write the full name of each defendant, official position and place of employment. Attach a
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   Case 4:20-cv-10091-JLK Document 1 Entered on FLSD Docket 08/04/2020 Page 3 of 25




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    II. Statement of Claim

    Briefly describe the facts of your case. Describe how each defendant is involved, names of other
    persons involved, and dates and pl aces. Each claim should be stated in a separately numbered
    paragraph. Please use short and plain statemmts, with separately numbered paragraphs indicating
    why the relief requested should be granted. Do not idude legal arguments or cite cases or statutes.
    Attach additional pages, if necessary.
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    III. Relief Requested

    Briefly state what you are requesting from the Court (what do you want the Court to do). Do not
    include legal arguments or cite cases or statutes. Attach additional pages, if necessary.

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